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                                                  February 2, 2023
BY ECF
Honorable Cathy Seibel
U.S. District Court for the Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4150
       Re: Virgil v. Finn, et al., No. 22-cv-3169 (CS)

Dear Judge Seibel:

        We write on behalf of Plaintiff Melvin Virgil following the January 17, 2023 pre-motion
conference concerning Defendants Anthony Annucci and Mark Royce’s anticipated motion to
dismiss. At the conference, Your Honor invited Mr. Virgil to further amend his complaint, an
invitation on which he reserved. Following discussions with counsel for Defendants Annucci and
Royce, Mr. Virgil has indeed decided to amend his complaint. Each of the Defendants have
indicated that they consent to the amendment and have agreed to the following schedule:

                                     Date by which Plaintiff is to file Second
                March 24, 2023
                                     Amended Complaint

                                     Defendants respond to Second Amended
                April 14, 2023       Complaint, including Defendants Annucci
                                     and Royce’s anticipated motion to dismiss

                                     Plaintiff submits brief in opposition to motion
                May 5, 2023
                                     to dismiss

                                     Defendants submit reply brief in further
                May 19, 2023
                                     support of motion to dismiss

       Further, as discussed at the conference, Mr. Virgil and Defendants Annucci and Royce
have agreed to bundle the briefing on the anticipated motion to dismiss the Second Amended
Complaint, meaning that each of the motion papers would be filed to the docket on May 19, 2023.


                                                  Very truly yours,

                                                  /s/ Benjamin D. White
                                                  Benjamin D. White
